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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE

GARY REES,

               Plaintiff,

       vs.
                                                             Case 2:22-cv-00374-LEW
TOWN OF CUMBERLAND,

               Defendant.



DEFENDANT’S UNOPPOSED MOTION TO EXTEND THE DEADLINE FOR FILING
                 THE STIPULATION OF DISMISSAL

       Defendant Town of Cumberland, by and through counsel, hereby moves without

opposition to extend the time to file the stipulation of dismissal by thirty days based on the

following:

       1.      The parties participated in a judicial settlement conference in which they agreed

to a settlement that was contingent upon consent by the Town Council of the Town of

Cumberland.

       2.      On July 28, 2023, counsel notified the Court that the Town Council had

consented to the settlement.

       3.      Also on July 28, 2023, the Court issued a procedural order that required the

parties to file a stipulation of dismissal on or before August 28, 2023.

       4.      On August 28, 2023, counsel filed an unopposed motion to extend the deadline to

file the stipulation of dismissal by thirty days to September 27, 2023 which the Court granted by

Order on the same date.

       5.      Since the entry of that order, the parties have been attempting to finalize the

terms of documents that are required for the settlement; however, there are still issues

remaining to be resolved.
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          6.     Undersigned counsel requests that the Court extend the deadline for the parties

to file a stipulation of dismissal by thirty (30) days.

          7.     The Town’s counsel has conferred with the Plaintiff’s counsel and has been

authorized to represent that the Plaintiff does not object to this Motion or to the requested

relief.

          WHEREFORE, the Town requests that the Court grant its motion to extend time and

order that the deadline for the parties to file a stipulation of dismissal is extended by thirty (30)

days to October 27, 2023.

          Dated at Portland, Maine this 28th day of September, 2023.

                                        Attorneys for Defendant Town of Cumberland
                                        MONAGHAN LEAHY, LLP
                                        95 Exchange Street, P.O. Box 7046
                                        Portland, ME 04112-7046
                                        (207) 774-3906
                                        jwall@monaghanleahy.com

                                BY:     /s/ John J. Wall, III
                                        John J. Wall, III




                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 28, 2023, I electronically filed Defendant’s
Unopposed Motion to Extend the Deadline for Filing the Stipulation of Dismissal
using the CM/ECF system, which will provide notice to me and all other counsel of record.

          Dated at Portland, Maine this 28th day of September, 2023.

                                        Attorneys for Defendant Town of Cumberland
                                        MONAGHAN LEAHY, LLP
                                        95 Exchange Street, P.O. Box 7046
                                        Portland, ME 04112-7046
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                                BY:     /s/ John J. Wall, III
                                        John J. Wall, III




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